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 8                       UNITED STATES DISTRICT COURT
 9                    SOUTHERN DISTRICT OF CALIFORNIA
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11   MARIA HERNANDEZ, as an                     Case No. 3:19-cv-01636-AJB-AGS
12   individual; AZAEL SANCHEZ, as an           ORDER GRANTING
     individual, ROBERTO NAVA, as an            STIPULATION OF DISMISSAL
13   individual, and on behalf of all others    WITHOUT PREJUDICE AS TO
     similarly situated,                        DEFENDANT TALENTWISE,
14                    Plaintiffs,               INC., ONLY
15         v.                                   (Doc. No. 13)
     SOUTHWEST KEY PROGRAMS,
16   INC., a Texas Corporation;
     TALENTWISE, INC., a Delaware
17   Corporation; and DOES 1-50, inclusive
18                    Defendants.

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     ORDER GRANTING STIPULATION OF DISMISSAL WITHOUT PREJUDICE AS TO DEFENDANT TALENTWISE,
                                               INC.
                                  CASE NO. 3:19-CV-01636-AJB-AGS
     Case 3:19-cv-01636-AJB-AHG Document 14 Filed 09/23/19 PageID.103 Page 2 of 2



 1         Before the Court is the Stipulation of Dismissal Without Prejudice as to Defendant
 2   TalentWise, Inc. Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i-ii), the Court grants the
 3   stipulation of dismissal as to Defendant TalentWise, Inc. It is hereby ordered that
 4   TalentWise, Inc. is dismissed, without prejudice, from this action.
 5         IT IS SO ORDERED.
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     Dated: September 23, 2019
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          ORDER GRANTING STIPULATION OF DISMISSAL WITHOUT PREJUDICE AS TO DEFENDANT
                                      TALENTWISE, INC.
